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                              FOR PUBLICATION

               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

         KELLY CAHILL; HEATHER                           No. 24-2199
         HENDER; SARA JOHNSTON;
         LINDSAY ELIZABETH,                               D.C. No.
                                                      3:18-cv-01477-JR
                        Plaintiffs - Appellees,

          v.                                              OPINION

         INSIDER INC.; ADVANCE LOCAL
         MEDIA LLC d/b/a/ OREGONIAN
         MEDIA GROUP; AMERICAN
         CITY BUSINESS JOURNALS,

                        Intervenors - Appellees,

         NIKE, INC., an Oregon Corporation,

                        Defendant – Appellant,

         ----------------------------------------

         MARKOWITZ HERBOLD, PC,

                        Intervenor.

               Appeal from the United States District Court
                        for the District of Oregon
            Marco A. Hernandez, Senior District Judge, Presiding
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                     Argued and Submitted February 12, 2025
                            San Francisco, California

                               Filed March 18, 2025

              Before: Lawrence VanDyke and Anthony D. Johnstone,
              Circuit Judges, and Dana L. Christensen, District Judge. *

                            Opinion by Judge VanDyke


                                   SUMMARY **


                             Confidential Documents

             The panel: (1) vacated the district court’s order denying
         a motion to require a media organization to return or destroy
         confidential documents that were inadvertently disclosed to
         it by counsel for the plaintiffs in an employment
         discrimination action; and (2) remanded for further
         proceedings.
             Pursuant to a protective order, a collection of internal
         workplace complaints was produced to the plaintiffs on a
         confidential basis, and many of the documents were also
         sealed. The district court granted the motion of three media
         organizations, including Advance Local Media LLC d/b/a
         The Oregonian Media Group, to intervene. During a

         *
           The Honorable Dana L. Christensen, United States District Judge for
         the District of Montana, sitting by designation.
         **
           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         meeting with a reporter from The Oregonian, plaintiffs’
         attorney inadvertently sent the reporter confidential
         documents. The district court declined to order The
         Oregonian to return or destroy those documents.
             The panel held that it had jurisdiction over the appeal
         under 28 U.S.C. § 1292(a)(1) because the relief sought was
         injunctive in nature.
             The panel held that the district court, as part of its
         inherent powers to oversee discovery in cases before it, had
         authority to order The Oregonian to return or destroy the
         documents because, as an intervenor, The Oregonian was a
         party to the case and was thus subject to the district court’s
         inherent case-management authority. The panel held that
         The Oregonian did not have a First Amendment right to
         withhold the documents because pretrial discovery
         proceedings are not public components of the judicial
         process, and a court can police access to information
         disclosed in discovery. Applying relaxed First Amendment
         scrutiny, the panel held that the district court’s exercise of its
         inherent authority over parties’ access to the fruits of
         discovery furthered a substantial government interest
         unrelated to the suppression of expression.


                                   COUNSEL

         Grayson Clary (argued), Reporters Committee for Freedom
         of the Press, Washington, D.C.; Edwin A. Harnden (argued),
         Joshua Waugh, and Melissa C. Oakley, Barran Liebman
         LLP, Portland, Oregon; for Intervenors-Appellees.
         Brian W. Denlinger, Ackermann & Tilajef PC, Tacoma,
         Washington; Craig J. Ackermann, Ackermann & Tilajef PC,
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         Beverly Hills, California; Barry L. Goldstein, Byron
         Goldstein, James Kan, and Laura L. Ho, Dardarian Ho Kan
         & Lee, Oakland, California; David B. Markowitz and Harry
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         L. Bodien, Attorney at Law, Tacoma, Washington; for
         Plaintiffs-Appellees.
         David J. Elkanich, Buchalter APC, Portland, Oregon, for
         Intervenor.
         Sean D. Unger (argued), Paul Hastings LLP, San Francisco,
         California; Daniel Prince and Felicia Davis, Paul Hastings
         LLP, Los Angeles, California; Laura E. Rosenbaum, Stoel
         Rives LLP, Portland, Oregon; for Defendant-Appellant.


                                       OPINION

         VANDYKE, Circuit Judge:

             Does a district court have the power to order an
         intervenor to return or destroy confidential documents that
         were inadvertently disclosed to it by another party? This
         case, in which one party’s attorney inadvertently disclosed
         confidential documents to a newspaper reporter, compels us
         to answer this question. We conclude that a district court’s
         inherent powers provide the authority to issue such an order.
         The district court’s order 1 below is therefore vacated and the




         1
          Because the district court affirmed the magistrate judge, we refer to the
         orders from the magistrate judge and district judge collectively as the
         district court’s orders.
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         case is remanded for further proceedings consistent with this
         opinion. 2
                                           I.
             Kelly Cahill, Sara Johnston, Lindsay Elizabeth, and
         Heather Hender (“Plaintiffs”) filed a putative class action
         lawsuit against Nike, Inc. (“Nike”) in 2018, asserting gender
         discrimination and hostile workplace claims. One piece of
         evidence in Plaintiffs’ lawsuit was a collection of internal
         workplace complaints—dubbed “the Starfish complaints”—
         that documented allegations of discrimination and
         harassment at Nike. Given the sensitive information in the
         Starfish complaints and other produced documents, the
         district court entered a protective order (“Protective Order”)
         to facilitate discovery. Pursuant to the Protective Order,
         thousands of documents were produced to Plaintiffs on a
         confidential basis, and many were also filed under seal.
         While Nike and Plaintiffs agreed to unseal the substance of
         the Starfish complaints, they kept under seal the names of
         the non-party complainants, witnesses, and other persons of
         interest.
             Three media organizations, including Advance Local
         Media LLC d/b/a The Oregonian Media Group (“The
         Oregonian”), wanted access to those names. So the media
         groups filed a motion to intervene, which the district court
         granted. After intervention, Plaintiffs’ attorney met with a
         reporter from The Oregonian to discuss the claims against
         Nike. During that meeting, the attorney inadvertently sent
         the reporter confidential documents, including unredacted


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           The Court GRANTS Nike’s motion to seal (Dkt. 35) so that the district
         court can resolve the relevance, if any, of the sealed documents on
         remand.
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         versions of the sealed documents attached to Plaintiffs’ class
         certification motion and additional documents produced in
         discovery. 3
             Plaintiffs’ counsel demanded that The Oregonian return
         or destroy the documents, but The Oregonian refused.
         Plaintiffs’ counsel then moved for the return or destruction
         of the documents. The magistrate judge initially granted the
         motion and entered an order restraining The Oregonian from
         publishing any information obtained from the disclosed
         documents and also ordering The Oregonian to return or
         destroy those documents. The district court vacated the
         order and referred the issue back to the magistrate judge.
         Reasoning that The Oregonian was not a party to the case
         and that the district court lacked authority to order a
         non-party to return the documents, the magistrate judge
         denied Plaintiffs’ motion. The district court affirmed over
         Plaintiffs’ and Nike’s objections.
                                             II.
             We have jurisdiction under 28 U.S.C. § 1292(a)(1).
         Section 1292(a)(1) “permits appeal as of right from
         ‘[i]nterlocutory orders of the district courts … granting,
         continuing, modifying, refusing or dissolving injunctions.’”
         Carson v. Am. Brands, Inc., 450 U.S. 79, 83 (1981)
         (emphasis and alterations in original) (quoting
         § 1292(a)(1)). The relief sought below—an order requiring

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           This case is not mooted by affirmance of the district court’s unsealing
         order in the related appeal, Cahill, et al. v. Nike, Inc., No. 24-165. There
         are additional confidential documents—separate from those that are the
         subject of the related appeal—that The Oregonian obtained only through
         the attorney’s inadvertent disclosure. The disposition of these separate
         documents remains a live issue independent of the resolution of the other
         case. See United States v. Washington, 596 U.S. 832, 837 (2022).
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         The Oregonian to return or destroy the documents, with a
         “promise not to disseminate that information in any way and
         to destroy copies in its possession”—was injunctive in
         nature. See Privitera v. Cal. Bd. of Med. Quality Assur., 926
         F.2d 890, 893–94 (9th Cir. 1991); see also In re Zyprexa
         Injunction, 474 F. Supp. 2d 385, 423, 430 (E.D.N.Y. 2007),
         aff’d sub nom. Eli Lilly & Co. v. Gottstein, 617 F.3d 186 (2d
         Cir. 2010); Eli Lilly, 617 F.3d at 189. Because the relief
         sought below was injunctive in nature, and the district
         court’s order had the “practical effect” of denying Nike
         injunctive relief, Carson, 450 U.S. at 83, the denial of that
         relief confers jurisdiction on this court. Calderon v. U.S.
         Dist. Ct., 137 F.3d 1420, 1422 n.2 (9th Cir. 1998). 4
                                            III.
             The district court incorrectly concluded that it lacked the
         authority to order the return or destruction of the documents
         disclosed by Plaintiffs’ attorney to The Oregonian. As an

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           Nike also argues that the district court applied the wrong standard of
         review to the magistrate judge’s order. District judges review
         non-dispositive orders issued by a magistrate judge under the “clearly
         erroneous or contrary to law” standard. 28 U.S.C. § 636(b)(1)(A). De
         novo review applies to dispositive orders “that ha[ve] been properly
         objected to,” such as a denial of injunctive relief. Id. § 636(b)(1)(B)–
         (C). Because both standards invite plenary, non-deferential review for
         questions of law, see 12 Charles Alan Wright & Arthur R. Miller,
         Fed. Prac. & Proc. Civ. § 3069 (3d ed. June 2024 update), any error
         from the district court by stating that it applied “clear error” review was
         immaterial. The district court also stated it “carefully considered [the]
         objections and conclude[d] they do not provide a basis to modify the
         Magistrate Judge’s Order.” Because there is no indication that the
         district court showed deference instead of reviewing the issue anew, see
         Freeman v. DirecTV, Inc., 457 F.3d 1001, 1004 (9th Cir. 2006), we
         conclude that, its misstatement notwithstanding, the district court
         functionally applied the correct standard.
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         intervenor, The Oregonian was a party to the case and was
         thus subject to the district court’s jurisdiction without
         implicating any First Amendment concerns.
                                       A.
             The Oregonian is a party to this case. As the Supreme
         Court has explained: “[w]hen the term [to intervene] is used
         in reference to legal proceedings, it covers the right of one
         to interpose in, or become a party to, a proceeding already
         instituted.” U.S. ex rel. Eisenstein v. City of New York, 556
         U.S. 928, 933 (2009) (emphasis and alterations in original)
         (quoting Rocca v. Thompson, 223 U.S. 317, 330 (1912)).
         And this court has explained that a prospective intervenor
         becomes a party to the suit once allowed to intervene.
         Robert Ito Farm, Inc. v. Cnty. of Maui, 842 F.3d 681, 687
         (9th Cir. 2016); see also United States v. Cal. Mobile Home
         Park Mgmt. Co., 107 F.3d 1374, 1378 (9th Cir. 1997) (“After
         intervention, the parties to the litigation have changed.”).
         Other circuits have reached the same conclusion: once an
         intervenor enters an action, they become a “party” to it. E.g.,
         Moses v. City of Perry, 90 F.4th 501, 505 (6th Cir. 2024);
         Old Dominion Elec. Coop. v. FERC, 892 F.3d 1223, 1232
         (D.C. Cir. 2018); Korczak v. Sedeman, 427 F.3d 419, 420
         (7th Cir. 2005); Galbreath v. Metro. Tr. Co. of Cal., 134 F.2d
         569, 570 (10th Cir. 1943).
             The Oregonian attempts to dull the effect of its party
         status by arguing it is only a limited-purpose intervenor that
         should not be subject to the Protective Order or the district
         court’s discovery orders. But “as a general rule, intervenors
         are permitted to litigate fully once admitted to a suit.”
         League of United Latin Am. Citizens v. Wilson, 131 F.3d
         1297, 1304 (9th Cir. 1997) (citing Charles Alan Wright,
         Arthur R. Miller & Mary Kay Kane, 7C Fed. Prac. & Proc.
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         Civ. § 1920 (2d ed. 1986)). Even when a party intervenes in
         a case after the resolution of certain issues, and for only a
         limited purpose, the intervenor has the ability to challenge
         prior rulings and orders through motions to reopen or
         reconsider. Id. at 1303–04. Only when a court imposes
         specific limitations or conditions upon an intervening party
         is that party’s status so limited. See, e.g., Sierra Club v.
         Penfold, 857 F.2d 1307, 1320 (9th Cir. 1988) (discussing
         district court’s imposition of limitations on putative class of
         intervenors). By entering into the litigation here, The
         Oregonian obtained the same rights and obligations that any
         other party would obtain. 5
                                             B.
             Because The Oregonian was a party, the district court
         had the authority to order The Oregonian to return or destroy
         the documents as part of the court’s inherent powers to
         oversee discovery in cases before it. The Supreme “Court
         has long recognized that a district court possesses inherent
         powers that are ‘governed not by rule or statute but by the
         control necessarily vested in courts to manage their own
         affairs so as to achieve the orderly and expeditious
         disposition of cases.’” Dietz v. Bouldin, 579 U.S. 40, 45

         5
           Although certain of this court’s cases indicate that some procedural
         requirements may differ when intervention is granted for the purpose of
         modifying protective orders or sealing orders, see Kamakana, 447 F.3d
         at 1178 n.2; Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 473 (9th
         Cir. 1992), The Oregonian’s express purpose in entering the litigation
         was to modify the court’s orders sealing the very documents The
         Oregonian received via Plaintiffs’ attorney in breach of the Protective
         Order. So even if some procedural requirements applied differently to
         certain intervenors, that does not affect The Oregonian’s obligations with
         respect to the court’s discovery orders concerning the same documents
         The Oregonian sought to unseal.
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         (2016) (quoting Link v. Wabash R. Co., 370 U.S. 626, 630–
         31 (1962)). Those powers include “the inherent authority of
         a court to enforce its orders by whatever means,” Perry v.
         O’Donnell, 759 F.2d 702, 705 (9th Cir. 1985) (quoting Cook
         v. Ochsner Found. Hosp., 559 F.2d 270, 272 (5th Cir.
         1977)), the authority “to manage [its] dockets and
         courtrooms with a view toward the efficient and expedient
         resolution of cases,” Dietz, 579 U.S. at 47, and the authority
         “to correct that which has been wrongfully done by virtue of
         its process,” Arkadelphia Milling Co. v. St. Louis Sw. Ry.
         Co., 249 U.S. 134, 146 (1919).
             These inherent powers provided the district court here
         with the authority to enforce the Protective Order and to
         manage discovery by ordering The Oregonian to return or
         destroy confidential documents that had been inadvertently
         provided from one party to another party in the lawsuit.
         Those documents were originally given to Plaintiffs only by
         virtue of the Protective Order. Fed. R. Civ. P. 26(c). To
         enforce its orders and ensure efficient discovery
         proceedings, the district court had the power to direct the
         return or destruction of any documents that were improperly
         provided by the court to a party, or by one party to another
         party. See United States v. Yacoubian, 24 F.3d 1, 5 (9th Cir.
         1994). There is no question that the district court would be
         able to, for instance, claw back confidential documents that
         the clerk of court inadvertently made available to the wrong
         party. Likewise, the district court would undoubtedly have
         the power to order the return of any materials that Nike had
         mistakenly provided to Plaintiffs, such as privileged
         materials not subject to disclosure. Because The Oregonian
         as an intervenor is likewise a party subject to the district
         court’s inherent powers, the district court has the same
         authority to require than any confidential documents
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         mistakenly provided to The Oregonian by another party be
         returned or destroyed.
             By voluntarily becoming a party, The Oregonian
         obtained substantial benefits, including the ability to litigate
         over access to sealed records. See San Jose Mercury News,
         Inc. v. U.S. Dist. Ct., 187 F.3d 1096, 1100 (9th Cir. 1999).
         But with these benefits also came the requirement to comply
         with court orders, including orders managing discovery. See
         Freeman v. Bee Mach. Co., 319 U.S. 448, 453 (1943) (noting
         a party that “invoke[s] the jurisdiction of the federal court
         [also] submit[s] to it”). The Oregonian voluntarily subjected
         itself to the district court’s authority to protect the discovery
         process, including the necessity of the court at times to order
         the return or destruction of confidential documents that were
         mistakenly disclosed. The fact that The Oregonian entered
         into the case with some limited-purpose intervenor status is
         irrelevant; as a party it was still subject to court orders
         regarding the confidential documents at issue. See S.E.C. v.
         Ross, 504 F.3d 1130, 1148 (9th Cir. 2007) (“[A] party cannot
         simultaneously seek affirmative relief from a court and
         object to that court’s exercise of jurisdiction.”). This is
         particularly appropriate in this case since the limited purpose
         for The Oregonian’s intervention was closely related to the
         documents it received. Because The Oregonian willingly
         submitted to the district court’s jurisdiction—including its
         inherent case-management authority—the district court
         possessed inherent powers allowing it to order The
         Oregonian to return or destroy the confidential documents. 6


         6
          Based on our conclusion that as a party to the litigation The Oregonian
         was subject to the district court’s inherent authority, we need not address
         whether the Protective Order separately provides a basis for the district
         court to order The Oregonian to return or destroy the documents.
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                                       C.
             The Oregonian does not have a First Amendment right
         to withhold the documents at issue. Pretrial discovery
         proceedings “are not public components” of the judicial
         process, and a court can police access to information
         disclosed in discovery. Seattle Times Co. v. Rhinehart, 467
         U.S. 20, 31–33, 37 (1984). As a result, there is no First
         Amendment right to discovery, and “an order prohibiting
         dissemination of discovered information before trial is not
         the kind of classic prior restraint that requires exacting First
         Amendment scrutiny.” Id. at 33. Consistent with this
         authority, a party “may disseminate … information covered
         by [a] protective order” only “as long as the information is
         gained through means independent of the court’s
         processes.” Id. at 34 (emphasis added).
             In this case, The Oregonian (a party to this litigation)
         received sealed documents from Plaintiffs’ attorney (also a
         party to this litigation)—not an “independent source.”
         Ground Zero Ctr. for Non-Violent Action v. U.S. Dep’t of the
         Navy, 860 F.3d 1244, 1257–58 (9th Cir. 2017). The
         Oregonian had “no First Amendment right of access to
         information that was made available” to one of the parties in
         the case—here, the Plaintiffs—“only for purposes of trying
         [the] suit.” Seattle Times, 467 U.S. at 32. Because a district
         court can police what is shared before it is shared without
         any prior restraint concerns, a district court necessarily has
         the concomitant power to enforce its rules concerning
         document production and to remedy violations without prior
         restraint concerns as against a party before it. See, e.g., Cal.
         Dep’t of Soc. Servs. v. Leavitt, 523 F.3d 1025, 1033 (9th Cir.
         2008) (inherent authority to enforce orders).            Cases
         concerning prior restraints, such as New York Times
         Company v. United States, 403 U.S. 713 (1971) (per curiam),
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         thus are not implicated here. Instead, we “appl[y] relaxed
         First Amendment scrutiny to district courts’ restrictions of
         litigants’ speech given ‘the relationship between [them] and
         the court system.’” Ground Zero, 860 F.3d at 1258 (citation
         omitted). That relaxed scrutiny is satisfied in this case
         because the district court’s exercise of its inherent authority
         over parties’ access to the fruits of discovery “furthers a
         substantial governmental interest unrelated to the
         suppression of expression.” Seattle Times, 467 U.S. at 34.
                                           IV.
             For the foregoing reasons, we VACATE the district
         court’s order denying Nike’s motion for the return of the
         disclosed documents and we REMAND this matter for
         further proceedings consistent with this opinion.7




         7
           We also VACATE the portion of the court’s order denying Nike’s
         requested discovery into the inadvertent disclosure by Plaintiffs’
         attorney, which was premised upon the district court’s conclusion that
         “discovery into the circumstances of the disclosure are irrelevant to The
         Oregonian’s First Amendment rights.” On remand, the district court
         may consider whether any further discovery is warranted in light of the
         legal principles we have set forth herein.
